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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE




United States of America

     V.                                       Case No . 02-cr-022-02-J D

Scott Grant




                                O R D E R

     Defendant moves to reduce his sentence based upon the recent

amendments to the Federal Sentencing Guidelines regarding cocaine

base ("crack cocaine") offenses (document no . 215) . For the

reasons stated below, the motion to reduce sentence is DENIED .

     On May 1, 2007, the United States Sentencing Commission (the

"Commission") submitted to Congress an amendment to the Federal

Sentencing Guidelines that lowers the guideline sentencing range

for certain categories of offenses involving crack cocaine .

Specifically, the amendment adjusts downward by two levels the

base offense level assigned to each threshold quantity of crack

cocaine listed in the Drug Quantity Table in §2D1 .1 and provides

a mechanism for determining the guideline range for offenses

involving crack cocaine and other controlled substances . This

amendment took effect November 1, 2007 .
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      Pursuant to 28 U .S .C .   § 994(u), the Commission also

determined that this guideline amendment would be applied

retroactively to offenders who were sentenced under prior

versions of the Guidelines Manual and who are incarcerated . Th e

Commission set the effective date for the retroactive application

of this amendment to be March 3, 2008, at which time reductions

in sentence pursuant to 18 U .S .C .      § 3582(c)(2) based on the

retroactive application of the crack cocaine amendment will be

authorized .

      After having reviewed the offense for which the defendant

was convicted in this district and upon which he is presently

incarcerated, it is determined that defendant is not eligible to

seek a reduced sentence under this amendment . The plea agreement

in this case contained a binding stipulation that the defendant's

base offense level should be premised on the distribution of at

least 1 .5 kilograms of cocaine base, which resulted in a base

offense level of 38 . The presentence report (using the November

1,   2002 edition of the Guidelines Manual) determined the

defendant was responsible for 11 kilograms grams of cocaine base,

which resulted in a base offense level of 38 . After applying a

two level decrease for the "safety valve" reduction and a three

level reduction for acceptance of responsibility, the defendant's

total offense level was determined to be 33 . The defendant wa s


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sentenced to 135 months imprisonment with a recommendation for

the Bureau of Prisons drug treatment program and five years of

supervised release .

     The amended guideline range is determined by substituting

only the retroactive crack cocaine amendment to the guidelines as

applied at the original sentencing and all other guideline

application decisions for the original sentencing remain

unaffected . After applying the retroactive application of the

crack cocaine amendment, the defendant did not receive any

reduction in the base offense because the offense involved more

than 4 .5 kilograms of cocaine base (i .e ., 11 kilograms), which is

still a level 38 . Therefore, pursuant to USSG §lBl .1O(a)(2)(B),

the amendment does not have the effect of lowering the

defendant's applicable guideline range .

     Therefore, for the foregoing reasons, Defendant's motion to

reduce sentence (document no . 215) is DENIED .

     SO ORDERED .




Date : April 3, 2008              /s/ Joseph A . DiClerico, Jr .
                                  Joseph A . DiClerico, Jr .
                                  United States District Judg e




cc : Scott Grant, pro se
      Counsel of Record




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